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8                                    UNITED STATES DISTRICT COURT

9                                  EASTERN DISTRICT OF CALIFORNIA
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11   ADRIANA LEDESMA, et al.,                       ) Case No.: 1:14-cv-01634 DAD JLT
                                                    )
12                  Plaintiffs,                     ) ORDER CLOSING CASE
                                                    )
13          v.                                      ) (Doc. 80)
     COUNTY OF KERN, et al.,                        )
14
                                                    )
15                  Defendants.                     )
                                                    )
16                                                  )

17           On January 6, 2017, the parties filed a stipulation to dismiss the action. (Doc. 80) Federal

18   Rules of Civil Procedure Rule 41 provides that “the plaintiff may dismiss an action without a court

19   order by filing: . . . a stipulation of dismissal signed by all parties who have appeared.”. . .” Fed. R.

20   Civ. P. 41(a). Once such a notice has been filed, an order of the Court is not required to make the

21   dismissal effective. Fed. R. Civ. P. 41(a)(1)(ii); Wilson v. City of San Jose, 111 F.3d 688, 692 (9th

22   Cir. 1997). Accordingly, the Clerk of Court is DIRECTED to close this action in light of the notice

23   of dismissal with prejudice filed and properly signed pursuant to Rule 41(a).

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25   IT IS SO ORDERED.

26      Dated:     January 10, 2017                              /s/ Jennifer L. Thurston
27                                                       UNITED STATES MAGISTRATE JUDGE

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